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Not for Publication

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


 JUUL LABS, INC.

               Plain tiff
                                                           Civil Action No. 19-8405 (JMV) (MF)
        V.


 EONSMOKE, LLC, ZLAB S.A., ZIIP LAB CO.,                                 ORDER
 LTD., SHENZHEN YIBO TECHNOLOGY CO.,
 LTD., JOHN DOES 1-50,
               Defendants.



John Michael Vazguez, U.S.D.J.

       Currently pending before this Court is Plaintiffs motion for temporary restraints and a

preliminary injunction based on claims of patent infringement and unfair competition. D.E. 8. In

addition to the motion, the Court reviewed the Verified Complaint, D.E. 1, and then held a

telephone conference on March 13, 2019, with counsel for all parties. F or the reasons stated on

the record, and for good cause shown,

                       13th
       IT IS on this          day of March, 2019,

       ORDERED that Plaintiffs request for temporary restraints as to its unfair competition

claim is DENIED WITHOUT PREJUDICE; and it is further

       ORDERED that Plaintiffs request for temporary restraints as to Defendants ZLAB S.A.;

ZIIP Lab Co., Ltd.; and Shenzhen Yibo Technology Co., Ltd. is DENIED WITHOUT

PREJUDICE; and it is further

       ORDERED that as to Plaintiffs remaining request for temporary restraints on its design

patent infringement claim against Eonsmoke, LLC, the following schedule applies:
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           1. Defendant Eonsmoke, LLC, shall submit its opposition by 5 p.m. EST on Monday,
              March 18,2019; and

           2. Plaintiff shall submit its reply to the opposition by 5 p.m. EST on Tuesday, March
              19, 2019’; and

           3. The Court will hold a hearing on Wednesday, March 20, 2019 at 2:00 p.m. EST2;
              and it is further

       ORDERED that as to Plaintiffs motion for a preliminary injunction, the following

schedule applies:

           1. Defendants shall submit their opposition by Monday, March 25, 2019; and

           2. Plaintiffs shall submit their reply by 5 p.m. EST on Thursday March 28, 2019; and

           3. The Court will hold a hearing on friday, March 29, 2019 at 2:00 p.m.3




                                               JOHN MICHAEL VAZ U.S.D.J.




 Plaintiff is permitted to supplement its unfair competition argument in this submission, but the
Court will not consider such argument until the preliminary injunction stage.

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  If necessary, out-of-state counsel are permitted to participate via telephone at all court
appearances scheduled in this Order. However, if do so, they are required to notify the Court one
day in advance and provide dial-in information.

 Any party intending to call a witness to testify at this hearing shall notify the Court at least twenty
four hours in advance.
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